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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:
                                                  Misc. Case No. 15-00204-TPA
  ALL MATTERS RELATED TO NORTH
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.       Chapter 11
  7940
         Debtors


  HONEYWELL INTERNATIONAL INC.,                   Adv. No. 21-2097
         Plaintiff,
      v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,
         Defendant.



          JOINT PROPOSED MODIFICATIONS TO ADMITTED EXHIBITS LIST

         The undersigned parties have met and conferred regarding the exhibits listed as admitted

 in the Court’s Post-Trial Order of May 31, 2022. See Dkt. No. 386 at 2. The parties have agreed

 upon a limited set of proposed modifications to the list of exhibits admitted. For the Court’s

 convenience, the parties’ proposed modifications are listed below in a redline against Paragraphs

 2, 3, and 4 of the Court’s Post-Trial Order. Where applicable, the parties have listed supporting

 citations to the trial transcript.

         The proposed modifications are as follows:
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           (2)     The Exhibits admitted into evidence at the trial at the request of the Plaintiff

 were: B, D, F, H, L, N, T, V, X, Z, AA, AB, AC, AE, AH, AJ, AK, AL, AM, AO, AQ, AR, AS,

 AT, AU, AV, AW, AZ, BA, BB, BC, BD, BE,1 BM (pages 21909-95), BN (pages 2196-2202),

 BP, BR (pages 2206-35), BT (pages 2465-67), BU (pages 2534-2608), CO, CP, DJ, DN, DP,

 DQ, DW, DX, ET, EW (pages 6838-73), FA, FE, FG, FX, GA, GY, HA, HG, JS, 49, 197, 3542

 (pages 9191-92), 394,384, CR#5, CR#6, CR#7, CR#8, CR#9, CR#10, CR#11, CR#12,

 CR#13, CR#15, CR#16, CR#17, CR#18, CR#19, and CR#20.

           (3)     The Exhibits admitted into evidence at the trial at the request of the

 Defendant were: E,J, AX, BA, GY, HA, HQ, 1, 12,24, 25, 27, 32, 33, 34, 99, 112, 122, 140,

 155, 165, 166, 168, 215, 222, 237, 248, 260, 272, 282, 305, 310, 312, 334, 338, 379, 384,

 CR#1, CR#2, CR#3, CR#4, CR#21, CR#22.

           (4)     The Exhibit admitted into evidence at the trial at the request of Intervenor

 Future Claimants Representative was: 2.

                                             *       *       *

           Transcript citations for the additional exhibits that the parties believe were admitted are as

 follows:

     Exhibit AO (offered at Honeywell’s request)                 Tr. (5/23 PM 1) at 87:15-19.

     Courtroom Exhibit 1 (offered at Trust’s request) 2          Tr. (5/23 AM) at 138:21-140:1.




 1
  Honeywell and the Trust are continuing to meet and confer about a potential joint motion to seal certain
 portions of Exhibit BE pursuant to 11 U.S.C. § 107(b)(1), which they would file by no later than June 13,
 2022, or at such time as directed by the Court.
 2
  The Court marked Courtroom Exhibits 1 and 2 at the Trust’s request. Upon reviewing the trial transcript,
 the Trust noticed that it had inadvertently failed to move the admission of those Courtroom Exhibits into
 the record. With the consent of all parties, the Trust respectfully requests that the Court deem Courtroom
 Exhibits 1 and 2 to have been admitted at trial.



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  Courtroom Exhibit 2 (offered at Trust’s request)              Tr. (5/23 AM) at 142:25-145:16.



           Transcript citations for proposed modifications to exhibits listed in the Court’s Post-Trial

 Order are as follows:

  Exhibit BM (corrected Bates range)                            Tr. (5/26 PM) at 7:5-18.

  Exhibit GY (admitted at Honeywell’s request, rather Tr. (5/26 AM) at 124:12-18.
  than Trust’s)
  Exhibit HA (admitted at Honeywell’s request, rather Tr. (5/26 AM) at 127:13-20.
  than Trust’s)
  Exhibit 352 (listed as Exhibit 342 in Post-Trial Order)       Tr. (5/26 AM) at 51:23-52:5.

  Exhibit 384 (listed as Exhibit 394 in Post-Trial Order)       Tr. (5/23 PM 1) at 25:1-5.



           After a review of the transcripts, the parties were not able to find transcript references for

 the admission of the following exhibits, which they believe were not admitted: AD, DW, DX, J,

 and 12.




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 Dated: June 07, 2022


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